Case 1:14-cv-01317-RGA Document 886-1 Filed 03/18/19 Page 1 of 1 PageID #: 63368




                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

                                            )
 AMGEN, INC., AMGEN                         )
 MANUFACTURING, LIMITED, and                )
 AMGEN USA INC.,                            )
                                            ) C.A. No. 1:14-cv-01317-RGA
                      Plaintiffs,           ) (CONSOLIDATED)
           v.                               )
                                            )
 SANOFI, SANOFI-AVENTIS U.S. LLC,           )
 AVENTISUB LLC, f/d/b/a AVENTIS             )
 PHARMACEUTICALS INC., and                  )
 REGENERON PHARMACEUTICALS,                 )
 INC.,                                      )
                                            )
                      Defendants.           )
                                            )

         [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION UNDER
           FED. R. CIV. P. 50(B) FOR JUDGMENT AS A MATTER OF LAW

        Upon consideration of Defendants’ Motion under Fed. R. Civ. P. 50(B) for Judgment as

 a Matter of Law, and for good cause shown, it is hereby ORDERED that

 1.     The Motion is GRANTED; and

 2.     Claims 19 and 29 of U.S. Patent No. 8,829,165 and claim 7 of U.S. Patent No. 8,859,741

 are hereby invalidated for failure to satisfy the written description and/or enablement

 requirement of 35 U.S.C. §112.

        SO ORDERED, this ______ day of __________________, 2019.




                                                   UNITED STATES DISTRICT JUDGE
